                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

MI FAMILIA VOTA EDUCATION FUND,
as an organization; MURAT LIMAGE;
PAMELA GOMEZ,

       Plaintiffs,

v.                                                    Civil Action No.: 08:12-cv-01294

KEN DETZNER, in his official capacity as
Florida Secretary of State,

      Defendant.
_____________________________________/

     THE SECRETARY’S MOTION TO DISMISS FIRST AMENDED COMPLAINT

       Defendant Florida Secretary of State Kenneth W. Detzner (“Secretary”) respectfully

moves, pursuant to Federal Rule of Civil Procedure 12(b)(6), to dismiss Plaintiffs’ First

Amended Complaint (DE 20). Plaintiffs’ Amended Complaint “fail[s] to state a claim upon

which relief can be granted,” Fed. R. Civ. P. 12(b)(6), because the State is not a covered

jurisdiction under Section 5 of the Voting Rights Act, Plaintiffs have failed to identify any

change in voting practice or procedure subject to Section 5 preclearance, and Plaintiffs seek to

bootstrap a statewide injunction based on an alleged Section 5 violation that exists, even under

their own theory, in only five of Florida’s 67 counties.

                                PRELIMINARY STATEMENT

       As the United States Department of Justice recently emphasized before the Supreme

Court, “the federal and state governments have a compelling interest in excluding foreign

citizens” from the political process. Motion of the United States to Dismiss or Affirm at 11,

Bluman v. FEC, 132 S. Ct. 1087 (2012) (No. 11-275), 2011 WL 5548718. Such an exclusion is

neither an “invidious attack” on these individuals nor “a deficiency in the democratic system”;
rather, it is “a necessary consequence of the community’s process of political self-definition.” Id.

at 15 (quoting Cabell v. Chave-Salido, 454 U.S. 432, 439 (1981)).

        Plaintiffs acknowledge that “[t]he State of Florida requires that, in order to vote in any

election conducted in th[e] state, an individual must be a citizen of the United States of America.”

Am. Compl. ¶ 19. Plaintiffs also acknowledge that Florida law validly requires the Secretary to

“ensure the maintenance of accurate and current voter registration records” and the Supervisors

of Elections in each county (“county supervisors”) to “conduct uniform, non-discriminatory

registration list maintenance.” Id. ¶ 20. Moreover, though Plaintiffs fail to mention it, Florida

law mandates a notice-and-hearing procedure before an individual may be removed from the

voter registration list. See § 98.075(7), Fla. Stat.

        All of these state laws have been precleared under Section 5. See June 6, 2012 Letter to

DOJ (Ex. 1) (referenced at Am. Compl. ¶ 38); see also A Compilation Of The Election Laws Of

The State Of Florida, available at http://election.dos.state.fl.us/publications/pdf/2011/

2011ElectionLaws_04-12-2012.pdf (last visited July 5, 2012). Plaintiffs therefore do not

challenge any of these requirements or the Secretary’s compliance with them. See Am. Compl.

¶¶ 18–34. And Plaintiffs do not allege that the Secretary sought to change any requirement of

voter eligibility or the precleared notice-and-hearing removal procedure. See id.

        Instead, Plaintiffs allege that the “change” purportedly requiring Section 5 preclearance is

the Secretary’s use of a new source of information to confirm compliance with Florida’s valid

voter eligibility requirements. Id. ¶ 45. In particular, Plaintiffs claimed that the Secretary

violated Section 5 when he matched the voter registration list against citizenship data from the

Florida Department of Highway Safety and Motor Vehicles’ (“DHSMV”) MAN Driver and

Vehicle Express (“MDAVE”) database to identify potential non-citizens, and then transmitted




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that data to county supervisors, who were to initiate the statutory notice-and-hearing removal

procedure where warranted. See id. ¶¶ 18–34. As Plaintiffs recognize, however, the Secretary

has discontinued this MDAVE data matching. See id. ¶ 40.

       Indeed, the Secretary determined that use of more recent citizenship data would facilitate

more efficient identification of non-citizens registered to vote. The Secretary thus repeatedly

sought—but was wrongfully and illegally denied—access to the Systematic Alien Verification

for Entitlements Program database (“SAVE”) maintained by the Department of Homeland

Security (“DHS”). See id. ¶ 42. As Plaintiffs recount, the Secretary filed suit on June 11, 2012,

seeking access to SAVE, and DHS finally committed to providing that access on July 9, 2012.

See id. ¶¶ 42–43; see also Fla. Dep’t of State v. U.S. Dep’t of Homeland Security, No. 1:12-CV-

00960 (D.D.C.). The Secretary intends to institute an additional safeguard by using SAVE to

verify the current citizenship status of individuals identified as potential non-citizens through the

MDAVE data matching and for whom the Secretary has unique identifiers required for SAVE

verification. Only information about registered voters confirmed by SAVE as non-citizens

would be transmitted to county supervisors for initiation of the statutory notice-and-hearing

procedure.

       Plaintiffs now allege that this SAVE data matching is a Section 5 “change” (see Am.

Compl. ¶¶ 42–46), but this tortured claim fails for at least three simple reasons. First, as

Plaintiffs concede, the State is not a “covered jurisdiction” under Section 5 (see id. ¶¶ 48, 50, 62;

28 C.F.R. Part 51 Appendix)—so Section 5 does not provide a cause of action against the State.

As Plaintiffs further concede, only five of Florida’s 67 counties are covered jurisdictions (see

Am. Compl. ¶¶ 48, 50, 62), so Plaintiffs’ Section 5 claim runs, if at all, only against those




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counties. Yet the Secretary, in his official capacity on behalf of the non-covered State, is the

only defendant that Plaintiffs joined and against whom they seek relief. See id. ¶ 18.

       Second, even if the State were a covered jurisdiction, Plaintiffs fail to identify any change

in voting practice or procedure requiring Section 5 preclearance. Indeed, Plaintiffs’ theory

makes no sense because it would freeze the Secretary into using antiquated, unreliable sources of

information to implement the State’s valid voter eligibility requirements unless and until more

current and reliable sources received preclearance. Such a regime would impede, rather than

advance, the efficient administration of precleared election laws.

       Plaintiffs allege that the Secretary’s data matching was discriminatory because it

generated “false positives” of registered voters who were actually citizens. See id. ¶ 36. Yet the

reason that the Secretary sought SAVE data is that such data is more reliable and uniform than

previously available data. Plaintiffs thus seek to prohibit the Secretary from using increasingly

more accurate data to assess citizenship.

       In any event, even if the State were a covered jurisdiction, the Secretary’s data matching

is not a Section 5 “change” because it simply is one of many ongoing implementations of a

Florida law that has already been precleared. Florida law authorizes the Secretary to access

information from state and federal officials “[i]n order to identify ineligible registered voters and

maintain accurate and current voter registration records,” § 98.093, Fla. Stat., and directs him to

share with the county supervisor any information indicating “that a registered voter is ineligible

because he or she . . . is not a United States citizen,” id. § 98.075(6). The Secretary regularly

receives and transmits to county supervisors data relating to voter eligibility from a host of state

and federal agencies—and merely continues that practice with the SAVE data matching.




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       Plaintiffs, moreover, plainly do not believe that the Secretary’s data matching is a change

in any covered county because they have not even joined any such county as a defendant. See

Am. Compl. ¶ 18. In fact, the only actions by covered counties that Plaintiffs identify are

Hillsborough County’s use of the matched data under the now-discontinued MDAVE process “as

the basis for a mailing to demand that the recipients provide proof of their citizenship” (id. ¶ 34)

and Collier County’s “remov[al]” of individuals “from the voting rolls” (id. ¶ 39). But, as

Plaintiffs acknowledge with their citation to “Fla. Stat. § 98.075(7),” Hillsborough County’s

mailing was required by Florida’s precleared notice-and-hearing removal procedure (id. ¶ 34)—

and Plaintiffs do not allege that any citizen was erroneously removed from the rolls in Collier

County or anywhere else (id. ¶ 39). Thus, the Secretary’s reliance on a new source of data has

changed precisely nothing in the five covered counties, which continue to act on information

received from the Secretary and to remove individuals that the county supervisors determine are

ineligible in accordance with Florida’s precleared notice-and-hearing procedure.

       In a last-ditch effort to save their “change” argument, Plaintiffs attempt to leverage a

letter from the Justice Department espousing the view that the Secretary’s MDAVE data

matching was a Section 5 change. See id. ¶ 37. Yet when the Justice Department filed its own

suit challenging the Secretary’s MDAVE data matching, it did not advance any Section 5 claim.

See United States v. Florida, No. 4:12cv285, Order Denying A Temporary Restraining Order at

1 (N.D. Fla. June 28, 2012) (“DOJ Order”) (Ex. 2). In any event, the Justice Department’s letter

and its “Statement of Interest” (“SOI”) merely repeat the fatal flaws in Plaintiffs’ position.

       The Court should reject Plaintiffs’ Section 5 claim and dismiss Plaintiffs’ Amended

Complaint in its entirety. In the alternative, and at a minimum, the Court should reject Plaintiffs’

attempt to transform the alleged Section 5 violation in five covered counties into a statewide




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injunction prohibiting the Secretary from implementing data matching and ordering him to

“advis[e] the Supervisors of Elections,” regardless of county, to cease relying on the results from

that matching. Am. Compl. ¶¶ B–C. Such a claim for relief in non-covered jurisdictions is

beyond the Court’s Section 5 remedial authority and should be dismissed.

                                         BACKGROUND

       A.      The Secretary’s Data Matching

       As Plaintiffs recognize (Am. Compl. ¶ 19), Florida requires a voter in any election in the

State to be “a citizen of the United States.” § 97.041(1)(a)(2), Fla. Stat. Florida law further

directs the Secretary to “protect the integrity of the electoral process by ensuring the maintenance

of accurate and current voter registration records,” id. § 98.075(1), and authorizes the Secretary

to access information from state and federal officials “[i]n order to identify ineligible registered

voters and maintain accurate and current voter registration records,” id. § 98.093. It further

provides that if the Secretary or a county supervisor “receives information . . . that a registered

voter is ineligible because he or she . . . is not a United States citizen,” the supervisor must

initiate the statutory notice-and-hearing procedure and—if the supervisor determines after that

process that the registered voter is, in fact, ineligible—must remove the individual from the

statewide voter registration list. Id. §§ 98.075(6)–(7). All of these state laws have been

precleared under Section 5 of the Voting Rights Act. See June 6, 2012 Letter to DOJ; A

Compilation Of The Election Laws Of The State Of Florida.

       Congress, through the Help America Vote Act (HAVA), has imposed similar duties on

the Secretary. HAVA requires the Secretary “to ensure that voter registration records in the State

are accurate and are updated regularly” in order to “remove registrants who are ineligible to vote

from the official list of eligible voters.” 42 U.S.C. § 15483(a)(4). HAVA also places a specific

non-discretionary duty on the Secretary to “match information in the database of the statewide


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voter registration system with information in the database of the [State’s] motor vehicle

authority” in order “to verify the accuracy” of voter registration information. Id.

§ 15483(a)(5)(B)(i).

       The Secretary and county supervisors regularly engage in data collection efforts to

identify ineligible voters on the State’s voter registration list. For example, the Secretary

receives monthly reports of: deceased adults from the Florida Department of Health; persons

adjudicated mentally incompetent from each clerk of the circuit court; and persons who have

become licensed to drive in other states from DHSMV. The Secretary also receives information

from the United States Social Security Administration about registered voters who are deceased.

And the Florida Department of Law Enforcement identifies persons on the voter rolls who have

been convicted of a felony. See generally §§ 98.075, 98.093, Fla. Stat.

       In 2011, as authorized by state law and mandated by HAVA, the Secretary worked with

DHSMV to locate records in MDAVE pertaining to registered voters. This data matching

produced DHSMV records of registered voters containing information preliminarily indicating

that the individuals may be non-citizens, such as a foreign passport, green card, or U.S. visa.

The Secretary distributed a small sample consisting of roughly 2,600 such names to county

supervisors, who were to provide the identified individuals notice and an opportunity to be heard.

See Am. Compl. ¶¶ 25–32.

       In distributing the sample of names, the Secretary reminded supervisors:

       The list that you will be receiving represents only non-immigrants initially
       identified in DHSMV’s DAVE . . . . Please remember that you are still
       responsible for contacting these individuals and going through the process of
       verifying citizenship status before making a determination of eligibility for voter
       registration. You must follow the same procedures, in law, that you have in the
       past whenever you receive information that a registered voter of yours is
       ineligible to be registered to vote.




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Apr. 2, 2012 E-mail To County Supervisors (Ex. 3).

       Most county supervisors complied with their legal duty to “[n]otify the registered voter of

his or her potential ineligibility by mail within 7 days.” § 98.075(7), Fla. Stat. Over 400 voters

who were notified have confirmed their eligibility to vote. Since April 4, 2012, county

supervisors of elections have removed over 100 registered voters from the voter rolls after

determining that those persons were non-citizens. Many of these individuals had a record of

voting in prior elections. The Secretary is not aware of, and Plaintiffs do not identify, any citizen

appearing on the 2,600-person sample who has been wrongfully removed from the voter

registration rolls, or any individual who was removed without a supervisor complying with the

notice-and-hearing procedure and determining by a preponderance of the evidence that the

individual was ineligible. See, e.g., Am. Compl. ¶¶ 39, 49.

       The Secretary determined that use of more recent citizenship information contained in

SAVE would facilitate more accurate identification of non-citizens registered to vote. Thus, on

April 30, 2012, the Secretary decided not to forward any more MDAVE data to county

supervisors. See June 6, 2012 Letter to DOJ. After DHS repeatedly and illegally denied the

Secretary access to SAVE data, the Secretary filed suit seeking immediate access to that data on

June 11, 2012. See Fla. Dep’t of State v. U.S. Dep’t of Homeland Security, No. 1:12-CV-00960

(D.D.C.). DHS finally agreed to grant the Secretary the SAVE access to which he is legally

entitled on July 9, 2012. See Am. Compl. ¶¶ 42–43; see also Press Release: Florida Department

of State Receives Commitment from U.S. Department of Homeland Security to Provide Access

to Citizenship Database (July 14, 2012) (Ex. 4); Press Release: U.S. Department of Homeland

Security Agrees To Terms With Florida Department Of State Over Legal Status Checks Of

Potential Non-Citizen Voters (Aug. 16, 2012) (Ex. 5).




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       Consistent with his duties under precleared state law and federal law, the Secretary

intends to verify the citizenship status of the individuals identified as potential non-citizens

through the MDAVE data matching against SAVE, and where that verification confirms that a

registered voter is not a U.S. citizen, transmit the results of that verification to county supervisors

to initiate the notice-and-hearing procedure for review and, where warranted, removal of

ineligible individuals from the voting rolls.

       B.      Plaintiffs’ Complaint And First Amended Complaint

       Plaintiffs filed their initial Complaint on June 8, 2012, alleging that the Secretary’s

MDAVE data matching was a Section 5 change. See Compl. ¶¶ 22–31. The Secretary moved to

dismiss the Complaint on several grounds, including the fact that he had discontinued the

MDAVE data matching more than a month before Plaintiffs filed the Complaint. See DE 16.

Plaintiffs responded to that motion to dismiss by filing the Amended Complaint on July 27, 2012.

See Amend. Compl. That same day, the Department of Justice filed its Statement of Interest

responding to the Secretary’s motion to dismiss. See DE 22. The Court denied the Secretary’s

motion to dismiss as moot on July 30, 2012.

       Plaintiffs allege to be residents of Hillsborough County and a non-profit organization.

See Am. Compl. ¶¶ 14–17. Plaintiffs recognize that the State is not a covered jurisdiction under

Section 5 and that only five of Florida’s 67 counties—Collier, Hardee, Hendry, Hillsborough,

and Monroe—are covered jurisdictions. Id. ¶¶ 48, 50, 62. Plaintiffs nonetheless have sued and

sought relief against only the Secretary, in his official capacity on behalf of the State, and have

not sued any covered jurisdiction. See id. ¶ 18.

       Plaintiffs acknowledge that “Florida requires that, in order to vote in any election

conducted in that state, an individual must be a citizen of the United States of America.” Id.

¶ 19. Plaintiffs do not challenge this citizenship requirement or allege that the Secretary’s data


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matching changed the qualifications for voter eligibility. Plaintiffs, moreover, do not mention

the notice-and-hearing procedure that Florida law requires to remove an ineligible individual

from the voter registration list, and make no allegation that the Secretary or any other Florida

official sought to change those requirements.

       The gravamen of Plaintiffs’ sole claim, therefore, is that the Secretary’s “institut[ion] [of]

voter list maintenance procedures based upon motor vehicles data matching and SAVE database

matching constitute changes affecting voting that require Section 5 preclearance.” Id. ¶ 49. Yet

Plaintiffs recognize that Florida law requires supervisors to “conduct uniform, non-

discriminatory registration list maintenance” and the Secretary to “ensure the maintenance of

accurate and current voter registration records.” Id. ¶ 20. At the same time, Plaintiffs fail to

make even a single reference to precleared state law’s express authorization to the Secretary to

obtain information from state or federal agencies in order to confirm voter eligibility. See id.

       Plaintiffs nonetheless contend that the SAVE data matching is “void” because the

Secretary did not seek preclearance before relying on a new source of information to confirm

voter eligibility. Plaintiffs further seek a statewide injunction prohibiting the Secretary from

engaging in the SAVE data matching and ordering him to direct “county Supervisors of

Elections,” regardless of location, to cease initiating notice-and-hearing procedures based on the

results of that data matching. Id. ¶¶ 63–66, B–C.

                                          ARGUMENT

I.     SECTION 5 DOES NOT PROVIDE A CAUSE OF ACTION AGAINST THE
       STATE

       Section 5 requires preclearance “only to the extent” that the change in voting practice or

procedure “affects voting in jurisdictions properly designated for coverage.” Lopez v. Monterey

Cnty., 525 U.S. 266, 284–86 (1999) (“Lopez II”) (emphasis added); see also 42 U.S.C. §



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1973c(a); Holder v. Hall, 512 U.S. 874, 883(1994) (plurality op.) (“Section 5 applies only in

certain jurisdictions specified by Congress.”); LaRouche v. Fowler, 77 F. Supp. 2d 80, 86 (D.

D.C. 1999) (three-judge court), aff’d, 529 U.S. 1035 (2000). In other words, Section 5 extends

only to those “jurisdiction[s] covered by section 4(b) of the [Voting Rights] Act.” 28 C.F.R. §

51.1(a). Section 5, therefore, obviously does not apply to a non-covered jurisdiction; such

jurisdictions therefore are free to make changes in voting practice or procedure without first

obtaining preclearance. Lopez II, 525 U.S. at 284.

        Thus, Section 5 may be enforced—and provides a cause of action—only against a

covered jurisdiction, not a non-covered jurisdiction. See, e.g., Allen v. State Bd. of Elections, 393

U.S. 544 (1969) (actions against officers of covered states of Mississippi and Virginia); Presley

v. Etowah Cnty. Comm’n, 502 U.S. 491 (1992) (action against commission of covered political

subdivision); Young v. Fordice, 520 U.S. 273 (1997) (action against officer of covered state of

Mississippi); Lopez II, 525 U.S. 266 (action against covered political subdivision). This rule

applies even where a non-covered state, by state law, enacts changes to voting practices or

procedures to be implemented by a covered political subdivision. See, e.g., Lopez II, 525 U.S. at

274–77. In that scenario, Section 5 provides no claim against the non-covered state, which

participates in the litigation, if at all, as an intervenor. See, e.g., id. at 274 (noting non-covered

state’s intervention in Section 5 suit against covered county).

        As Plaintiffs acknowledge, the State of Florida is not a Section 5 covered jurisdiction,

and the Secretary of State is “the chief election officer of Florida.” Am. Compl. ¶ 18; see also

id. ¶¶ 48, 50, 62; 28 C.F.R. Part 51 Appendix. Section 5 therefore provides no cause of action

against the State. See, e.g., Lopez II, 525 U.S. 274–77. In fact, as Plaintiffs also acknowledge,

only five of Florida’s 67 counties are covered jurisdictions. See Am. Compl. ¶¶ 48, 50, 62; see




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also 28 C.F.R. Part 51 Appendix. Thus, Plaintiffs’ Section 5 claim runs, if at all, only against

those counties. See, e.g., Lopez II, 525 U.S. 274–77; Allen, 393 U.S. 544; Presley, 502 U.S. 491;

Young, 520 U.S. 273. Yet Plaintiffs assert their Section 5 claim only against the Secretary in his

official capacity on behalf of the State. See Am. Compl. ¶ 18. Plaintiffs thus have failed to state

a valid claim upon which this Court can grant relief, and their Amended Complaint should be

dismissed.

       Plaintiffs’ allegation that the Secretary “is required to provide written direction and

opinions to the Supervisor of Elections on the performance of their official duties,” id., does not

cure this pleading failure. A state legislature also provides direction, in the form of binding state

law, to county election officials—yet such state laws do not transform a non-covered state into a

covered jurisdiction against which a Section 5 claim may be brought. See, e.g., Lopez II, 525

U.S. 274–77. Moreover, a County “Supervisor of Elections is a constitutional officer who

operates not entirely within the Secretary’s control.” DOJ Order at 2. Thus, Plaintiffs’ choice to

sue only the Secretary and failure to join any covered jurisdiction is doubly fatal, and the Court

should dismiss the Amended Complaint.

       The Justice Department nonetheless contends (see SOI at 5–6) that the Secretary is a

proper Section 5 defendant because a covered county’s voting change is subject to Section 5

preclearance even when it is mandated by the law of a non-covered state (see id. at 6 (citing

Lopez II, 525 U.S. at 282)), and because a non-covered state has authority to submit a voting

change for preclearance (see id. (citing 28 C.F.R. § 51.23)). But neither of these truisms

suggests that a non-covered State is the proper defendant in a suit seeking to enforce Section 5’s

preclearance requirement with respect to an alleged voting change in a covered jurisdiction. The

dispositive point is that only a covered jurisdiction—whether county or state—is subject to




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Section 5 and therefore the only entity that can potentially violate it (by seeking to administer a

non-precleared change). “Florida” is no more a covered jurisdiction than “Utah” or other states

without covered counties within their borders, so it cannot be enjoined to “conform” to a law

which does not even apply to it. The fact that a county’s change is subject to preclearance, even

when the county’s action is required by state law, and that states may submit changes on behalf

of covered counties (because it is more convenient and the State is better informed) in no way

changes this dispositive fact. The State is still not subject to Section 5, so any injunction

requiring it to conform with the inapplicable law is inherently ultra vires.

       Nor is this a situation where the State is somehow needed for complete or effective

relief—an injunction against the five covered counties proscribing implementation of the

unprecleared “change” would fully preclude any potential Section 5 violation. Indeed, as this

very suit reflects, the only reason to name the State is to impermissibly constrain its activities in

the 62 Florida counties not covered by Section 5, improperly transporting Section 5’s restrictions

outside the covered counties.

       The lone case the Department cites, Bone Shirt v. Hazeltine, 200 F. Supp. 2d 1150, 1156

(D.S.D. 2002) (three-judge court) (cited at SOI at 5–6), only underscores that Plaintiffs have no

Section 5 claim against the Secretary. The question in Bone Shirt was whether South Dakota

could be ordered to submit for preclearance a law adopting a new statewide redistricting plan.

See id. at 1154–57. Reasoning that “[u]nder the South Dakota constitution, the state legislature

is responsible for enacting legislation to reapportion the legislative districts and it is the South

Dakota legislature that has the authority to make the appropriate changes to overcome objections

that arise during the preclearance process,” the two-judge majority concluded that “either the

legislative body that enacted the legislation or the executive body that was responsible for




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administering it [is] responsible for obtaining preclearance.” Id. at 1156. The two-judge

majority therefore ordered South Dakota to submit the redistricting plan for preclearance. See id.

One judge dissented on the view that “[a]ffirmatively requiring South Dakota to comply with a

federal statute which does not apply to that State” is an overly “intrusive equitable remedy.” Id.

at 1161 (Loken, J., dissenting).

       Here, the Secretary is not “responsible for” for any alleged change to the precleared

notice-and-hearing procedure for removing ineligible individuals from the voting rolls because

the Secretary is merely verifying citizenship status and transmitting the results of that

verification to county supervisors. Id. at 1156. As Plaintiffs recognize, the county supervisors,

not the Secretary, have responsibility for initiating and administering the notice-and-hearing

procedure. See Am. Compl. ¶¶ 26–39. Thus, the Secretary’s data matching does not cause any

of the purported changes or deficiencies in that procedure that Plaintiffs (incorrectly) allege. See

id. at ¶¶ 34–39. The Secretary therefore is not the proper defendant here, and Plaintiffs’ Section

5 claim runs, if at all, against the supervisors in the covered counties who are “responsible for”

the notice-and-hearing procedure and any “changes” in its administration. Bone Shirt, 200 F.

Supp. 2d at 1156.

       Moreover, in all events, the SAVE data matching, unlike a statewide redistricting plan, is

not a Section 5 change and, thus, does not require preclearance in any event. As explained

below, see infra Part II, the Secretary has not enacted any new law, but instead is only

discharging his statutory list maintenance duty, and nothing has changed with regard to his or the

county supervisors’ practices and procedures under precleared state law and federal law.




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II.    THE SECRETARY’S DATA MATCHING IS NOT A CHANGE REQUIRING
       SECTION 5 PRECLEARANCE

       Even if Plaintiffs had a Section 5 cause of action against the non-covered State, the Court

still should dismiss the Amended Complaint because the Secretary’s use of a new source of

information to confirm voter eligibility, whether MDAVE, SAVE, or some other source, is not a

change subject to preclearance. By its express terms, Section 5 requires preclearance only where

a covered jurisdiction “enact[s] or seek[s] to administer any voting qualification or prerequisite

to voting, or standard, practice, or procedure with respect to voting different from” one that

already has been precleared. 42 U.S.C. § 1973c(a) (emphasis added). Section 5 thus extends

“only to proposed changes in voting procedures,” Beer v. United States, 425 U.S. 130, 138

(1976) (emphasis added), resulting in a “new voting practice,” Lopez v. Monterey Cnty., 519

U.S. 9, 20 (1996) (“Lopez I”), that may retrogress the exercise of “the right to vote” of “any

citizens of the United States,” 42 U.S.C. § 1973c(b) (emphasis added); see also Lopez I, 519 U.S.

at 11 (“Section 5 governs changes in voting procedures, with the purpose of preventing

jurisdictions covered by its requirements from enacting or seeking to administer voting changes

that have a discriminatory purpose or effect.” (emphases added)).

       Here, the “voting qualification” is the obvious one of citizenship and the long-standing

“standard, practice or procedure” is enforcing this qualification by excluding non-citizens from

the voting rolls. 42 U.S.C. 1973c(a). This basic practice—universally followed and mandated

by federal law—is hardly new or a change from prior practice. The fact that the county

supervisors are now provided with information on citizenship that is derived from a different

source than their prior information does not remotely “change” either the citizenship

“qualification” or the long-standing “practice” of inquiring into a registered voter’s citizenship

status when there is reason to do so.



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       Thus, Plaintiffs’ theory that the Secretary or the counties need to seek Section 5

preclearance whenever they rely on a new source of information to enforce the unquestionably

valid voter eligibility requirements is flawed on multiple levels. In the first place, even for the

non-covered State, merely changing the information relied upon to confirm compliance with

valid voter eligibility requirements is not a change. Moreover, the Secretary’s data matching is

assuredly not a change in how Florida’s covered counties “administer” voting procedures,

because, on Plaintiffs’ own allegations, the counties are simply continuing to enforce Florida’s

valid voter eligibility requirements through the precleared notice-and-hearing procedure.

Because there has been no “change[] in voting procedure” anywhere, Beer, 425 U.S. at 138,

Section 5 is inapplicable and Plaintiffs’ Amended Complaint should be dismissed.

       A.      The Secretary’s Data Matching Is Not A Change In Voting Practice Or
               Procedure

        “In order to determine whether an election practice constitutes a ‘change’ as that term is

defined in . . . § 5,” a court must “compare the practice with the covered jurisdiction’s

‘baseline.’” Riley v. Kennedy, 553 U.S. 406, 421 (2008). The “baseline” is “the most recent

practice that was both precleared and ‘in force or effect’—or, absent any change since the

jurisdiction’s coverage date, the practice that was ‘in force or effect’ on that date.” Id. “The

question is whether the [covered jurisdiction] has enacted or is seeking to administer a practice

or procedure that is different enough from the baseline to qualify as a change.” Id.

       The Supreme Court applied this requirement in Presley v. Etowah County Commission,

502 U.S. 491 (1992). There, a group of plaintiffs brought suit alleging that certain changes in

county governance were subject to, but had not properly received, Section 5 preclearance. See

id. at 493–95. Specifically, the plaintiffs challenged a county resolution and a state law that




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altered the authority and duties of various county officials, contending that these changes related

to voting and had a potentially retrogressive effect on minority voters. See id. at 495–499.

       The Supreme Court rejected that contention. See id. at 510. The Supreme Court pointed

out that its prior cases had identified “four factual contexts” triggering Section 5’s preclearance

requirement: where changes in the covered jurisdiction (i) “involve[] the manner of voting,” (ii)

“involve[] candidacy requirements and qualifications,” (iii) “concern[] . . . the composition of the

electorate,” or (iv) “affect[] the creation or abolition of an elective office.” Id. at 502–03. The

changes in county officials’ authority did not fall within any of these categories because “[t]hey

had no impact on the substantive question whether a particular office would be elective or the

procedural question how an election would be conducted.” Id. at 510.

       The Southern District of Texas recently applied Presley to reject a Section 5 challenge

substantially similar to the one Plaintiffs advance. See Lopez v. City of Houston, No. H-09-0420,

2009 WL 1456487 (S.D. Tex. 2009), aff’d 617 F.3d 336 (5th Cir. 2010). The City of Houston

Charter provided for a fourteen-member City Council, and required addition of two seats “if a

determination [was] made pursuant to the Charter that the population of Houston is greater than

or equal to 2.1 million people.” Id. at *1. The plaintiffs in Lopez brought suit alleging that, even

though the City Controller had determined, pursuant to the Charter, that the City’s population

exceeded 2.1 million people, the City Council had relied on nine year-old Census data to

conclude that the City’s population remained below that threshold and, thus, that no new seats

should be created. See id. The plaintiffs claimed that the City Council’s reliance on old Census

data, rather than more recent population estimates, was a “change” in voting procedure requiring

Section 5 preclearance. See id.




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        The Southern District of Texas rejected that claim for two reasons. First, the court held

that the plaintiffs had failed to establish a “change” in procedure at all. See id. at *7–*8. The

plaintiffs pointed to various provisions of the City Charter related to the population

determination—but they failed to identify the City’s “baseline” procedure for that determination.

See id. at *8. Because “[t]he plaintiffs have failed to allege that the City . . . has ever actually

implemented or followed the standard that they assert is the baseline,” they could not prove that

the City’s population determination was a “change” requiring preclearance. Id.

        Second, the court held that, even if the City’s approach constituted a “change,” the

plaintiffs still failed to state a claim because “merely changing the information relied upon or

changing the procedure for determining whether a change in the size of the City Council is

required is not the type of change that is subject to § 5’s preclearance requirements.” Id. at *9

(emphasis added). The court reasoned that such a change did not “fit within any of the four

categories of covered changes listed in Presley” because it did “not even arguably relate to the

manner of voting or candidacy requirements.” Id. And even though “[e]xpanding the number of

council positions would clearly fit within the fourth [Presley] category” and “redistricting” the

council districts “would fit within the third category,” changing the information relied on “to

determine when the expansion of the Council and concomitant redistricting must be implemented

does not have the requisite ‘direct relation to voting and the election process’ to be subject to

Section 5 preclearance.” Id. (quoting Presley, 502 U.S. at 503).

                1.      The Secretary’s Data Matching Is Not A Change For The Non-
                        Covered State

        Even if the State were a covered jurisdiction, the Secretary’s data matching does not

qualify as a “change” subject to Section 5 preclearance because it does not depart from the

State’s precleared benchmark and, in any event, has no “direct relation to voting and the election



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process.” Presley, 502 U.S. at 503. First, the Secretary’s data matching “[m]erely chang[es] the

information relied upon” to comply with the governing state statutes, Lopez, 2009 WL 1456487

at *9 (emphasis added), which require determination of who on the voter registration list might

be an ineligible non-citizen and, thus, subject to removal after notice and a hearing, see §

97.041(1)(a)(2), Fla. Stat.; id. § 98.075(7).

        As Plaintiffs recognize, Florida law limits the right to vote to citizens and requires the

Secretary and supervisors to “conduct uniform, non-discriminatory registration list maintenance”

and to “ensure maintenance of accurate and current voter registration records.” Am. Compl.

¶¶ 19–20. Moreover, Section 98.075 requires the Secretary to “protect the integrity of the

electoral process by ensuring the maintenance of accurate and current voter registration records.”

§ 98.075(1), Fla. Stat. It further provides that if the Secretary or a county supervisor “receives

information . . . that a registered voter is ineligible because he or she . . . is not a United States

citizen,” the supervisor is to remove the voter from the statewide voter rolls in compliance with

the statutory notice and hearing procedure. Id. §§ 98.075(6), (7). And Section 98.093 authorizes

the Secretary to access information from state and federal officials “[i]n order to identify

ineligible registered voters and maintain accurate and current voter registration records.” Id. §

98.093. All of these provisions have been precleared under Section 5. See June 6, 2012 Letter to

DOJ; A Compilation Of The Election Laws Of The State Of Florida.

        The Secretary long has implemented this statutory authority to obtain information bearing

on voter eligibility from state and federal agencies and to transmit that information to county

supervisors. The relevant precleared statutes specifically reference non-citizenship, along with

out-of-state residence, mental incapacity, and felony convictions, as bases for removing

ineligible individuals from the voter registration list. See § 98.075, Fla. Stat. Moreover, the




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relevant precleared statute specifically authorizes the Secretary and supervisors of elections to

receive information regarding voter ineligibility from new sources and to act on that information

by following the statutory notice-and-hearing procedure. See id. § 98.075(6) (referring generally

to “information from sources other than those identified in subsections (2)–(5)”). SAVE data

matching is nothing more than the use of newly available sources of information to carry out the

Secretary’s statutory duty to verify voter eligibility and to maintain the voter registration list.

See id.; see also id. § 98.093. Such a legally authorized effort is not a “change” to procedure at

all, much less a change requiring preclearance. Beer, 425 U.S. at 138.

        Indeed, under Plaintiffs’ theory, any time the Secretary obtained information bearing on

voter eligibility from a new source—whether a new government database, a newspaper article or

internet report, or a tip from a private citizen—he would be required to obtain preclearance

before providing that information to a county supervisor. This, of course, is not the law, see

Lopez, 2009 WL 1456487 at *9, and directly contravenes the Secretary’s precleared

authorization to act on any “information . . . that a registered voter is ineligible because he or she

. . . is not a United States citizen.” § 98.075(6), Fla. Stat.

        And this theory makes no sense because it would hamstring local authorities into using

antiquated, unreliable sources of information to implement precleared voting practices and

procedures unless and until it received preclearance to use new, more reliable sources of

information. Such a freezing of local authorities would impede, rather than advance, the

efficient discharge of precleared election laws. Indeed, creating such headwinds to excluding

ineligible persons impedes Section 5’s substantive goals because it diminishes the voting power

of “citizens”—minority and nonminority—that is protected by Section 5. 42 U.S.C. § 1973c(b).




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       As this reflects, the reason the Secretary has sought SAVE data is that it is more accurate

than the previously available data, and thus would reduce the number of “false positives” and the

potential for ad hoc, subjective enforcement of the citizenship qualification. See Am. Compl. ¶

36. On Plaintiffs’ construction, however, Section 5 would prevent the State from using more

reliable data to assess citizenship. See id.

       The Justice Department acknowledges that precleared § 98.075 “provide[s] that the

Department of State and Supervisors of Election could receive information from sources that

[a]re not expressly identified in the statute to determine other bases of eligibility, including

citizenship.” SOI at 7. It then argues that preclearance of this “enabling legislation” does not

prospectively preclear “any changes affecting voting proposed to be implemented pursuant to

this legislation.” Id. (emphasis added). This is true, but simply assumes the conclusion that a

new source of information for a preexisting, precleared voting practice is itself a “change

affecting voting.” Here, the precleared “standard, practice or procedure,” 42 U.S.C. § 1973c(a),

is using government databases as information concerning whether persons on the voting rolls

possess the requisite qualifications, including citizenship. Selecting among the subset of

government databases so utilized is not a change from that precleared procedure; it is simply a

fully contemplated implementation of that procedure. Gathering drivers license information

from a different agency than that utilized at the time § 98.075 was precleared does not change

any procedure affecting voting; it utilizes the same procedure with additional, new information.

       The Justice Department’s own Section 5 regulations confirm this obvious point. While

those regulations list, for example, changes in “qualifications or eligibility for voting” as changes

covered by Section 5, they provide no hint that changing the source of information for checking

such eligibility could even potentially be a covered change. See 28 C.F.R. § 51.13. And, of




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course, the fact that some jurisdictions, out of an abundance of caution or concern with costly

litigation against the Justice Department over changes that cannot rationally be denied

preclearance, have submitted data matching activities for preclearance (see SOI at 14–15) does

not suggest that such preclearance was required.

       Second, the Secretary’s data matching does not fit within any of the four Presley

categories and, thus, does not have the “direct relation to voting and the election process”

required to trigger Section 5. Presley, 502 U.S. at 503. On its face, the Secretary’s data

matching did not “involve[] the manner of voting” or “candidacy requirements and

qualifications,” and did not “affect[] the creation or abolition of an elective office.” Id. at 502–

03. And while changing the qualifications for voter eligibility affects “the composition of the

electorate,” id. at 503, “[m]erely changing the information relied upon” to determine compliance

with existing qualifications does not, Lopez, 2009 WL 1456487 at *9 (emphasis added).

Plaintiffs concede as much because they do not allege that every administrative determination of

ineligibility under Section 98.075(7) is itself subject to preclearance. The Justice Department

asserts that “removing voters from the list of registered voters” is “a change in the composition

of the electorate.” SOI at 12. But, again, the Secretary’s utilization of a citizen database does

not in any way “remove voters” or change the qualifications for voting or the procedures for

removing voters. All those stay the same; the only thing that changes is the data which is

plugged into those preexisting procedures for removing ineligible voters. And, in any event,

surely the Department is not suggesting that improving that data somehow impermissibly alters




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the “composition of the electorate” by removing those who commit a federal crime if they try

and illegally become part of the “electorate.” See § 97.041(2)(b), Fla. Stat.1

        Accordingly, the Secretary’s data matching “had no impact on the . . . procedural

question how an election would be conducted,” Presley, 502 at 510, and did “not even arguably

relate to the manner of voting or candidacy requirements,” Lopez, 2009 WL 1456487 at *9. The

Court should dismiss Plaintiffs’ Amended Complaint.

                2.      The Secretary’s Data Matching Is Not A Change In Any Covered
                        County

        Regardless of whether the Secretary’s data matching is a change on the non-covered state

level, it is not a change to the “baseline” practice in any covered county. Riley, 553 U.S. at 421.

For starters, Plaintiffs apparently agree that no covered county has implemented a change

because they have not joined any such jurisdiction as a defendant in this case. See Am. Compl. ¶

18. Moreover, Plaintiffs do not allege that any covered county has changed the qualifications for

voter eligibility or the notice-and-hearing procedure for removing an ineligible individual from

the voter registration list. See id. ¶¶ 34, 39.

        Instead, the only actions by a covered jurisdiction that Plaintiffs identify are Hillsborough

County’s use of the matched data under the now-discontinued MDAVE process “as the basis for

a mailing to demand that the recipients provide proof of their citizenship” (id. ¶ 34) and Collier

County’s “remov[al]” of individuals “from the voting rolls” (id. ¶ 39). But, as Plaintiffs

acknowledge with their citation to “Fla. Stat. § 98.075(7),” Hillsborough County’s mailing was


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           While the Supreme Court in Allen gave “a broad interpretation to the right to vote,” the
Secretary’s data matching does not trigger Section 5 even under that construction because it does
not “alter[] the election law of a covered jurisdiction,” relate to “the qualification of candidates
or to state decisions as to which offices shall be elective,” 393 U.S. at 564–66, or, as discussed
infra, fit within any of the four Presley categories.



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required by Florida’s precleared notice-and-hearing removal procedure (id. ¶ 34)—and Plaintiffs

do not allege that any citizen was erroneously removed from the rolls in Collier County or

anywhere else (id. ¶ 39). Indeed, nothing has changed for the county supervisors in the covered

jurisdictions, which, even on Plaintiffs’ theory, simply have implemented their baseline duty to

initiate proceedings to remove “a registered voter” whenever they “receive[] information . . . that

[he or she] is ineligible because he or she . . . is not a United States citizen.” § 98.075(6), Fla.

Stat.; Am. Compl. ¶ 34; see also Riley, 553 U.S. at 421; Lopez, 2009 WL 1456487 at *8.

Because no covered county has effected any “change[] in voting procedures,” Beer, 425 U.S. at

138 (emphasis added), the Court should dismiss Plaintiffs’ Amended Complaint.

III.   PLAINTIFFS’ REQUEST FOR STATEWIDE RELIEF SHOULD BE DISMISSED

       Finally, in the alternative, and at a minimum, the Court should reject Plaintiffs’ attempt to

expand an alleged Section 5 violation in five Florida counties into a statewide injunction

prohibiting the Secretary from implementing data matching and ordering him to “rescind[] [his]

previous correspondence to county Supervisors of Elections,” regardless of their location, and

“advis[e]” them “that the distributed lists should not be used for any purpose. Am. Compl. ¶¶ B–

C; see also SOI at 18–19 (seeking to leverage purported “changes . . . in the covered counties”

into a statewide injunction). Because Section 5 provides a cause of action against only covered

jurisdictions, see supra Part I, it authorizes relief only against those jurisdictions. Lopez II, 525

U.S. at 284–86. Section 5, therefore, does not authorize relief “to the extent” that an alleged

change in voting practice or procedure affects a non-covered jurisdiction. Id. at 284. Indeed, a

judicial extension of Section 5 to non-covered jurisdictions—jurisdictions for which Congress

has developed no record and made no findings that would justify the extraordinary prophylactic

remedy of preclearance—would likely be unconstitutional. Nw. Austin Mun. Utility Water Dist.

v. Holder, 129 S.Ct. 2504, 2511-12 (2009). Thus, even if Plaintiffs could establish that the


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Secretary’s data matching pursuant to precleared state law were a “change” requiring

preclearance—which they cannot—they would not be entitled to any relief in the 62 non-covered

counties. At a minimum, the Court should dismiss all such requests for relief.2

                                        CONCLUSION

       For the foregoing reasons, the Court should dismiss Plaintiffs’ First Amended Complaint

(DE 20).



Dated: August 20, 2012                       Respectfully submitted,

                                             /s/ Michael A. Carvin
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          Moreover, because Plaintiffs allege to be residents of Hillsborough County (see Compl.
¶¶ 14–15), they suffer no harm from the Secretary’s data matching in any other county and, thus,
lack standing to challenge it. See, e.g., Sullivan v. Scott, No. 11-10047, 2011 WL 4954261 (S.D.
Fla. Oct. 18, 2011) (dismissing statewide Section 5 claim); see generally Lujan v. Defenders of
Wildlife, 504 U.S. 555 (1992); City of Los Angeles v. Lyons, 461 U.S. 95, 101–02 (1983).



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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of August, 2012, a true and correct copy of the

foregoing will be sent electronically to the registered participants through the Court’s CM/ECF

system.



                                             /s/ Michael A. Carvin




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